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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


AMERICAN PATENTS LLC,

                Plaintiff,
v.

MEDIATEK INC., MEDIATEK USA INC.,
BROADCOM PTE. LTD., BROADCOM                         Civil Action No.: 6:18-CV-339
CORPORATION, LENOVO (SHANGHAI)
ELECTRONICS TECHNOLOGY CO. LTD.,                     JURY TRIAL DEMANDED
LENOVO GROUP, LTD., NXP
SEMICONDUCTORS N.V., NXP B.V., NXP
USA, INC., QUALCOMM
INCORPORATED and QUALCOMM
TECHNOLOGIES, INC.
,

               Defendants.


  AGREED MOTION FOR EXTENSION OF TIME FOR DEFENDANTS LENOVO
 (SHANGHAI) ELECTRONICS TECHNOLOGY CO. LTD. AND LENOVO GROUP,
 LTD. TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT

       Plaintiff American Patents LLC moves the Court to extend the time with which Defendants

Lenovo (Shanghai) Electronics Technology Co. Ltd. and Lenovo Group, Ltd. (hereinafter “the

Lenovo Defendants”), are required to move, answer or otherwise respond to Plaintiff’s Complaint.

In so doing, Defendants would not waive any defenses described or referred to in Rule 12 F.R.C.P.

In support of this Motion, the Plaintiff states as follows:

       1.      On November 14, 2018, Plaintiff filed its Complaint alleging patent

infringement against the Lenovo Defendants.

       2.      The Lenovo Defendants seek an extension of time to answer or otherwise respond

to Plaintiff’s Original Complaint to review the complaint and analyze the issues related to




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 responding to the Complaint by motion, answer or otherwise.

         3.    WHEREFORE, Plaintiff American Patents LLC respectfully requests that the

 time in which the Lenovo Defendants are required to move, answer or otherwise respond to

 Plaintiff’s Original Complaint for Patent Infringement be extended to and include January 24,

 2019.



Dated: January 3, 2019                        Respectfully submitted,

                                               By: /s/ Stafford Davis
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                                  Attorneys for American Patents LLC




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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented to

electronic services are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on this the 3rd day of January, 2019.



                                              By:/s/ Stafford Davis
                                                   Stafford Davis




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